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                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF UTAH              FILEDIJSDi:s:trictCourt-UT
                                                               AUG 30 '23 AMll:05

BUREAU OF CONSUMER FINANCIAL
PROTECTION,                                    Case No. 2:19-cv-00298-BSJ


     Plaintiff,
                   V.

PROGREXIONMARKETING, INC., etal.,

     Defendants.


                  ~-.\,
      tpROP08ED] STIPULATED FINAL JUDGMENT AND ORDER
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                             PARTIES' STATEMENT

      Plaintiff Bureau of Consumer Financial Protection ("Bureau") commenced

this civil action on May 2, 2019, to obtain injunctive and monetary relief and civil

penalties. The suit alleges, among other things, that the Defendants violated the

credit repair advance fee provision of the Telemarketing Sales Rule (TSR), 16

C.F.R. § 310.4(a)(2), by billing clients for credit repair services before the

timeframes required by the advance fee provision had expired. On March 10, 2023,

this Court issued an order agreeing with the Bureau's position.

      Credit repair organizations that market or sell their services over the phone,

irrespective of whether they promise a specific result to consumers, must follow

the TSR, including the advance fee provision. That is, credit repair organizations

that market or sell services over the phone may not request or receive payment of

any fee for credit repair services until (i) the time frame in which they have

represented all of the goods or services will be provided to that person has expired;

and (ii) they have provided the person with documentation in the form of a

consumer report from a consumer reporting agency demonstrating that the

promised results have been achieved, such report having been issued more than six

months after the results were achieved. And no business may substantially assist a

credit repair organization that it knows or consciously avoids knowing is engaged


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in an act or practice that violates the TSR, including by doing such things as

providing back office support, technical know-how, lead generation, or data that

supports their non-complaint credit repair practices or billing.

      The Defendants and the Bureau have now agreed to settle the litigation. As

part of the settlement, Lexington Law, CreditRepair.com, and Progrexion-the

largest credit repair organizations in the United States-have agreed that, among

other things, they will not violate the advance fee provision of the TSR, nor will

they knowingly assist or support any company that is violating that provision.

      Consumers considering using a credit repair company should be aware that it

is illegal for a company to charge them for telemarketed credit repair unless it has

been six months since the company achieved the promised results. Their consumer

report has to show that the promised results were achieved six months earlier than

they can be billed. Credit repair organizations accepting clients via inbound or

outbound telemarketing must conform their billing practices to the full

requirements of the TSR, including the advance fee provision of the TSR.

                                  BACKGROUND

       The Amended Complaint, filed on August 17, 2022, names as Defendants

PGX Holdings, Inc., Progrexion Marketing, Inc., Progrexion Teleservices, Inc.,

CreditRepair.com, Inc., and eFolks, LLC (collectively, the "Progrexion


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Defendants") and John C. Heath, Attorney-at-Law, PC ("Heath PC") (collectively

with the Progrexion Defendants, "Defendants"). The Bureau and Defendants are

collectively referred to herein as "the Parties" to the above-captioned civil action

(" Action").

      Count I of the Amended Complaint alleges that Heath PC and the

Progrexion Defendants engaged in abusive telemarketing practices in violation of

the credit repair advance-fee provision of the Telemarketing Sales Rule (TSR), 16

C.F.R. § 310.4(a)(2). On March 10, 2023, this Court granted partial summary

judgment in favor of the Bureau on liability under that claim (the "March 10, 2023

Order"), holding that all Defendants had violated 16 C.F.R. § 310.4(a)(2) since

March 8, 2016. The Court did not reach the question of what relief, if any, is

appropriate under Count I. Defendants disputed the Court's findings in support of

the March 10, 2023 Order and preserved their rights to appeal that order.

Defendants' time for appealing the March 10, 2023 Order has not begun to run. As

part of this settlement and compromise, Defendants neither admit nor deny the

allegations in Count I and waive their rights to appeal the March 10, 2023 Order.

       Counts II-V of the Amended Complaint allege that the Progrexion

Defendants engaged in deceptive acts and practices in violation of Sections 1031

and 1036 of the Consumer Financial Protection Act of 2010 (CFPA), 12 U.S.C. §§


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5531 and 5536, and deceptive telemarketing acts or practices in violation of the

TSR, 16 C.F .R. § 310.3 .1 Specifically, the Amended Complaint alleges that the

Progrexion Defendants, in order to generate credit repair sales for Lexington Law

and CreditRepair.com, relied on a network of marketing affiliates who advertised a

variety of products and services, often related to consumer credit products. The

Amended Complaint further alleges that certain of those marketing affiliates,

referred to herein as the "Hotswap Companies," used deceptive, bait advertising to

generate referrals to Defendants' Credit Repair Services. As alleged in the

Amended Complaint, during a "hotswap" telephone call, the Hotswap Company's

telephone agent would pitch Defendants' Credit Repair Services to the consumer,

and then live-transfer (or "hotswap") the consumer to Defendants' telemarketing

agent to attempt to close the credit repair sale. The Amended Complaint alleges

that the Progrexion Defendants paid the Hotswap Companies for each credit repair

sale that resulted from their efforts, despite knowing that they engaged in deceptive

practices. As part of this settlement and compromise, Defendants neither admit nor

deny the allegations in Counts II-V.

         On June 4, 2023, Defendants filed voluntary petitions for relief under

chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532, in the


1
    Plaintiff did not allege Counts II-V against Defendant Heath PC.

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United States Bankruptcy Court for the District of Delaware. Defendants' Chapter

11 cases are being jointly administered under the lead case In re PGX Holdings,

Inc. Case No. 23-10718 (CTG) (collectively, the "Chapter 11 Cases").

      Plaintiff and all Defendants, by and through their respective counsel, now

jointly request that the Court enter this Stipulated Final Judgment and Order

("Final Order").

                                        ORDER

                                      FINDINGS

1.     This Court has jurisdiction over the subject matter of this Action and has

jurisdiction over all the parties thereto, and venue in this district is proper.

2.     In the March 10, 2023 Order, the Court granted partial summary judgment to

the Bureau on liability on its claim that Defendants violated the advance-fee

provision, § 310 .4(a)(2) of the TSR.

3.     The Parties now agree to entry of this Final Order, without adjudication of

any appeal of the March 10, 2023 Order or of the remaining issues of fact or law

pleaded in the Amended Complaint, to settle and resolve all matters in dispute




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arising from the conduct alleged in the Amended Complaint through the Effective

Date of this Order.

4.    Defendants neither admit nor deny any allegations in the Amended

Complaint, except as stated in this Final Order. For purposes of this Final Order,

Defendants admit the facts necessary to establish the Court's jurisdiction over them

and the subject matter of this Action.

5.    The Parties waive all rights to seek judicial review of, or otherwise challenge

or contest, the validity of this Final Order. Defendants waive their right to seek

judicial review of the March 10, 2023 Order, and Defendants also waive any claim

they may have under the Equal Access to Justice Act, 28 U.S.C. § 2412,

concerning the prosecution of this Action to the date of this Final Order. Each

Party agrees to bear its own costs and expenses, including, without limitation,

attorneys' fees.

6.    Entry of this Final Order is in the public interest.

                                  DEFINITIONS

      The following definitions apply to this Final Order:

7.    "Affected Consumers" includes:

                       a. any consumer who, after being subject to telemarketing

                          regarding Defendants' Credit Repair Services, made a


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                         payment to Defendants for Credit Repair Services

                         purchased via a telemarketing transaction from March 8,

                         2016 through the Effective Date; and

                      b. any consumer who made a payment to Lexington Law or

                         CreditRepair.com from July 21, 2011 through the

                         Effective Date, after being live-transferred to Lexington

                         Law or CreditRepair.com by one of the Hotswap

                         Companies.

8.    "Bankruptcy Code" means title 11 of the United States Code.

9.    "Bankruptcy Court" means the United States Bankruptcy Court for the

District of Delaware and any other bankruptcy court having jurisdiction over the

Chapter 11 Cases or any proceeding therein from time to time.

10.   "Board" means the duly-elected and then-acting Boards of Directors of PGX

Holdings, Inc. or Heath PC.

11.   "Chapter 11 Cases" has the meaning specified therefor in the preamble

hereto.

12.   "Consumer" means any individual or an agent, trustee, or representative

acting on behalf of an individual. 12 U.S.C. § 5481(4).




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13.   "Consumer Financial Product or Service" means any Financial Product or

Service that is described in one or more categories under-

                       a. Paragraph 20 and is offered or provided for use by

                          consumers primarily for personal, family, or household

                          purposes; or

                       b. clause (i), (iii), (ix), or (x) of Paragraph 20, and is

                          delivered, offered, or provided in connection with a

                          Consumer Financial Product or Service referred to in

                          subparagraph (a) of this Paragraph.

14.   "Consumer Information" means information from or about an individual

consumer, including, but not limited to (a) first and last name; (b) a home or other

physical address, including street name and name of city or town; (c) an email

address or other online contact information, such as an instant messaging user

identifier or a screen name; (d) a telephone number; (e) a Social Security number;

(f) a driver's license or other government-issued identification number; (g) a

financial institution account number; (h) credit or debit card information; (i)

precise geolocation data of an individual or mobile device, including but not

limited to GPS-based, WiFi-based, or cell-based location information; or G) an

authentication credential, such as a usemame and password.


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15.    "Credit Repair Service" means any good or service represented to remove

derogatory information from, or improve, a person's credit history, credit record,

or credit rating. For clarity, Credit Repair Services do not include legitimate credit

monitoring services purchased and billed separately from any credit repair

component, feature, or offer.

 16.   "Defendants" means Heath PC and the Progrexion Defendants.

 17.   "Effective Date" means the date on which this Final Order is entered on the

docket.

 18.   "Enforcement Director" means the Assistant Director of the Office of

Enforcement for the Consumer Financial Protection Bureau, or their delegate.

 19.   "Enrolled Telemarketed Credit Repair Customer" means a consumer who, as

 of April 3, 2023, was enrolled in Defendants' Credit Repair Services pursuant to a

 transaction that occurred in connection with telemarketing, and re-enrolled in, re-

 subscribed to, or re-signed up for a Credit Repair Service offered or provided by

 Defendants between April 4, 2023 and July 4, 2023, and who remains so enrolled

 as of the Effective Date.

 20.   "Financial Product or Service" means

       (i)    extending credit and servicing loans, including acquiring, purchasing,

              selling, brokering, or other extensions of credit (other than solely


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              extending commercial credit to a Person who originates consumer

              credit transactions);

      (ii)    extending or brokering leases of personal or real property that are the

              functional equivalent of purchase finance arrangements, if-

              (I)    the lease is on a non-operating basis;

              (II)   the initial term of the lease is at least 90 days; and

              (III) in the case of a lease involving real property, at the inception of

                     the initial lease, the transaction is intended to result in

                     ownership of the leased property to be transferred to the lessee,

                     subject to standards prescribed by the Bureau;

      (iii)   providing real estate settlement services, except the business of

              insurance or electronic conduit services as defined by 12 U.S.C. §

              5481, or performing appraisals of real estate or personal property;

       (iv)   engaging in deposit-taking activities, transmitting or exchanging

              funds, or otherwise acting as a custodian of funds or any financial

              instrument for use by or on behalf of a consumer;

       (v)    selling, providing, or issuing stored value or payment instruments,

              except that, in the case of a sale of, or transaction to reload, stored

              value, only if the seller exercises substantial control over the terms or


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             conditions of the stored value provided to the consumer where, for

             purposes of this clause-

             (!)    a seller shall not be found to exercise substantial control over

                    the terms or conditions of the stored value if the seller is not a

                    party to the contract with the consumer for the stored value

                    product, and another Person is principally responsible for

                    establishing the terms or conditions of the stored value; and

             (II)   advertising the nonfinancial goods or services of the seller on

                    the stored value card or device is not in itself an exercise of

                    substantial control over the terms or conditions;

      (vi)   providing check cashing, check collection, or check guaranty services;

      (vii) providing payments or other financial data processing products or

             services to a consumer by any technological means, including

             processing or storing financial or banking data for any payment

             instrument, or through any payments systems or network used for

             processing payments data, including payments made through an

             online banking system or mobile telecommunications network, except

             that a Person shall not be deemed to be a covered Person with respect

             to financial data processing solely because the Person-


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            (I)    is a merchant, retailer, or seller of any nonfinancial good or

                   service who engages in financial data processing by

                   transmitting or storing payments data about a consumer

                   exclusively for purpose of initiating payments instructions by

                   the consumer to pay such Person for the purchase of, or to

                   complete a commercial transaction for, such nonfinancial good

                   or service sold directly by such Person to the consumer; or

            (II)   provides access to a host server to a Person for purposes of

                   enabling that Person to establish and maintain a website;

      (viii) providing financial advisory services (other than services relating to

            securities provided by a Person regulated by the Securities and

            Exchange Commission or a Person regulated by a State securities

            commission, but only to the extent that such Person acts in a regulated

            capacity) to consumers on individual financial matters or relating to

            proprietary financial products or services (other than by publishing

            any bona fide newspaper, news magazine, or business or financial

            publication of general and regular circulation, including publishing

            market data, news, or data analytics or investment information or




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             recommendations that are not tailored to the individual needs of a

             particular consumer), including-

             (!)    providing credit counseling to any consumer; and

             (II)   providing services to assist a consumer with debt management

                    or debt settlement, modifying the terms of any extension of

                    credit, or avoiding foreclosure;

      (ix)   collecting, analyzing, maintaining, or providing consumer report

             information or other account information, including information

             relating to the credit history of consumers, used or expected to be used

             in connection with any decision regarding the offering or provision of

             a consumer financial product or service, except to the extent that-

             (I)    a Person-

                    (aa) collects, analyzes, or maintains information that relates

                         solely to the transactions between a consumer and such

                         Person;

                    (bb) provides the information described in item (aa) to an

                         affiliate of such Person; or

                    (cc) provides information that is used or expected to be used

                         solely in any decision regarding the offering or provision


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                        of a product or service that is not a consumer financial

                        product or service, including a decision for employment,

                        government licensing, or a residential lease or tenancy

                         involving a consumer; and

             (II)   the information described in subclause (I)(aa) is not used by

                    such Person or affiliate in connection with any decision

                    regarding the offering or provision of a consumer financial

                    product or service to the consumer, other than credit described

                    in 12 U.S.C. § 55 l 7(a)(2)(A);

      (x)    collecting debt related to any consumer financial product or service;

             and

      (xi)   such other financial product or service as may be defined by the

             Bureau, by regulation, if the Bureau finds that such financial product

             or service 1s-

             (I)    entered into or conducted as a subterfuge or with a purpose to

                    evade any Federal consumer financial law; or

             (II)   permissible for a bank or for a financial holding company to

                    offer or to provide under any provision of a Federal law or




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                    regulation applicable to a bank or a financial holding company,

                    and has, or likely will have, a material impact on consumers.

 21.    "Heath PC" means John C. Heath, PC, Attorney at law, d/b/a Lexington

 Law, and its successors, transferees, and assigns.

 22.   "Heath PC's Executives" means the then-serving Board, Members,

 shareholders, Directing Attorney(s), and Managing Attorney(s) of Heath PC.

 23.   "Hotswap" means the live-transfer of a consumer, by telephone, from a

 Marketing Affiliate' s telemarketing agent to Defendants' telemarketing agent.

 24.   "Hotswap Companies" means The H.O.P.E. Program LLC (a/k/a The HOPE

 Program, Help Renters, Homes with HOPE, and Hope to Own); OLP.com, Inc.

 (a/k/a One Loan Place and Rocket Daddy); Ascent Mortgage Resource Group

 (a/k/a Lead Virtue, First Access Rent-to-Own, First Access Mortgage, United

 Rent-to-Own, Ascent Rent-to-Own, Fileforgrants.net, American Rent-to-Own,

 Rent to Own Homes, and HOPE Resources); Easyhomeownership.net (a/k/a Easy

 Home Ownership and Renttoownassistance.com); and YHTBA Corp. (a/k/a

 Rent2own.house, Rent-2-own.house, Rent Then Own Homes, and

 Renttoown.house ), and each of their successors, transferees, and assigns.




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25.     "Live-transfer" means transferring a consumer, by telephone, from one

telephone agent to another telephone agent, without terminating the telephone call

 before the transfer.

 26.    "Lead generation" means (a) using marketing techniques-other than

 passive advertising-to identify or attract prospective customers' interest in a third

 party's product or service; (b) obtaining, or aiding others in obtaining, Consumer

 Information about prospective customers for a third party's product or service; or

 (c) providing any Consumer Information of prospective customers to a third party.

 2 7.   "Marketing Affiliate" means any third party to whom Defendants provide, or

 offer to provide, any form of consideration for lead generation for any Defendant

 or to otherwise market, advertise, or offer Credit Repair Services on behalf of any

 Defendant. For clarity, print, digital, online, social media, broadcast, electronic

 media, or out-of-home publishers of passive advertisements on behalf of

 Defendants shall not be considered Marketing Affiliates on that basis alone.

 28.    "Person" means an individual, partnership, company, corporation,

 association (incorporated or unincorporated), trust, estate, cooperative

 organization, or other entity.

 29.    "Progrexion" means PGX Holdings, Inc., and all of its subsidiaries, and their

 successors, transferees, and assigns.


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30.     "Progrexion Defendants" means PGX Holdings, Inc., Progrexion Marketing,

Inc., Progrexion Teleservices, Inc., eFolks, LLC, and CreditRepair.com, Inc., and

their successors, transferees, and assigns.

 31.    "Progrexion Defendants' Executives" means the then-serving Board and the

 Chief Executive Officer, President, and most senior executive officer in charge of

 the operations of each Progrexion Defendant.

 32.    "Related Consumer Action" means a private action by or on behalf of one or

 more consumers or an enforcement action by another governmental agency

 brought against any Defendant based on substantially the same facts as described

 in the Amended Complaint.

 33.    "Substantially Assisting" means providing "substantial assistance or

 support" within the meaning of§ 310.3(b) of the TSR. Nothing in this definition

 shall be construed to limit any Defendant's liability after the Effective Date for

 conduct otherwise prohibited by the CFPA or TSR, including§ 310.3(b) of the

 TSR.

 34.    "Telemarketing" means a plan, program, or campaign which is conducted to

 induce the purchase of goods or services or a charitable contribution, by use of one

 or more telephones and which involves more than one interstate telephone call.




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                                CONDUCT RELIEF

                                            I

                             Prohibited Conduct
      Ban on Telemarketing or Selling Telemarketed Credit Repair Services

        IT IS ORDERED that:

35.     Defendants, whether acting directly or indirectly, are restrained, enjoined,

 and prohibited for a period of ten years from the Effective Date from:

                        a. Participating in telemarketing of Credit Repair Services,

                           whether directly or through an intermediary; or

                        b. Offering for sale, selling, or providing Credit Repair

                            Services that are advertised, marketed, promoted, or sold

                           through telemarketing, whether directly or through an

                            intermediary.

 Nothing in this Order shall be read as an exception to this Paragraph 35 or to

 excuse Defendants from complying with 16 C.F.R. § 310.4(a)(2) or other

 applicable laws or regulations after the expiration of ten years.




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                                           II

                                     Additional
                                 Prohibited Conduct

        IT IS ORDERED that:

 36.    Defendants and their officers, agents, servants, employees, and attorneys,

 and all other Persons in active concert or participation with them, who receive

 actual notice of this Final Order, whether acting directly or indirectly, are

 permanently restrained, enjoined, and prohibited from Substantially Assisting other

 persons in the offering for sale, selling, or providing of Credit Repair Services that

 are advertised, marketed, promoted, or sold through telemarketing and for which

 Defendants know or consciously avoid knowing billing is conducted other than in

 compliance with the advance-fee provision, 16 C.F.R. § 310.4(a)(2).

 3 7.   Defendants and their officers, agents, servants, employees, and attorneys,

 and all other Persons in active concert or participation with them, who receive

 actual notice of this Final Order, whether acting directly or indirectly, are

 permanently restrained, enjoined, and prohibited from hiring for services,

 contracting with, or paying the following Persons in connection with advertising,

 marketing, or lead generation activities for Lexington Law or CreditRepair.-com:




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                     a. Any Marketing Affiliate who Defendants know or should

                       know is engaged in advertising or offering rent-to-own

                       homes in connection with generating Consumer leads for

                       Defendants, unless that Marketing Affiliate is acting as a

                        broker with respect to such homes and maintains any

                        required licenses and registrations in each state where the

                        Person acts as a broker for such homes;

                     b. Any Marketing Affiliate who Defendants know or should

                        know is engaged in advertising or offering home

                        ownership education programs in connection with

                        advertising, marketing, or lead generation for Lexington

                        Law or CreditRepair.com, unless that Marketing Affiliate

                        is acting as a potential creditor or broker with respect to

                        homes or home loans and maintains any required licenses

                        and registrations in each state where the Person acts as a

                        potential creditors or broker for homes or home loans in

                        connection with generating Consumer leads for

                        Defendants;




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                     c. Any Marketing Affiliate who Defendants know or should

                       know is engaged in advertising or offering loans in

                       connection with advertising, marketing, or lead

                        generation for Lexington Law or CreditRepair.com,

                        unless that Marketing Affiliate is acting as a potential

                        creditor or broker with respect to such loans and

                        maintains any required licenses and registrations in each

                        state where the person acts as a creditor or broker for

                        loans advertised or offered in connection with generating

                        Consumer leads for Defendants;

                     d. Any Marketing Affiliate who Defendants know or should

                        know is engaged in advertising or offering real estate in

                        connection with advertising, marketing, or lead

                        generation for Lexington Law or CreditRepair.com,

                        unless that person is the seller of such real estate or an

                        authorized attorney, sales agent, or broker of such real

                        estate and maintains any required licenses and

                        registrations in each state where the person acts as a

                        seller, attorney, sales agent, or broker of real estate in


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                           connection with generating Consumer leads for

                           Defendants;

                        e. Any of the Hotswap Companies;

                        f. Kurt Artecona, Joseph Delfgauw, Christopher Robinson,

                           Brenda Kemp, and Rostislav Banin; and

                        g. Any Marketing Affiliate of which Defendants know or

                           should know Kurt Artecona, Joseph Delfgauw,

                           Christopher Robinson, Brenda Kemp, or Rostislav Banin

                           is an owner, executive, employee, or agent.

 3 8.   Defendants and their officers, agents, servants, employees, and attorneys,

 and all other Persons in active concert or participation with them, who receive

 actual notice of this Final Order, whether acting directly or indirectly, are

 permanently restrained, enjoined, and prohibited from making any material

 misrepresentations, whether implicit or explicit, when marketing Credit Repair

 Services, including but not limited to material misrepresentations regarding:

                        a. The availability of products or services being marketed

                           by Defendants or their Marketing Affiliates;

                        b. The relationship between Defendants, their Marketing

                            Affiliates, and the originators, owners, sellers, or brokers


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                             of any Consumer Financial Product or Service or real

                             estate;

                         c. A consumer's likelihood of success in obtaining a third-

                             party product or service;

                          d. The past success of Defendants' or their Marketing

                             Affiliates' customers in acquiring any Consumer

                             Financial Product or Service or real estate;

                          e. The efficacy or any material aspect of Defendants' Credit

                             Repair Services; or

                          f. Any of the material terms or conditions of the products or

                             services being marketed by Defendants or their

                             Marketing Affiliates.

 39.      Defendants and their officers, agents, servants, employees, and attorneys,

 and all other Persons in active concert or participation with them, who receive

 actual notice of this Final Order, whether acting directly or indirectly, are

 permanently restrained, enjoined, and prohibited from advertising or acquiring

 customers through lead generation activities by any Marketing Affiliate unless and

 until:




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                     a. Defendants verify to the fullest extent practicable that the

                        products and services offered or marketed by the

                        Marketing Affiliate in connection with advertising,

                        marketing, or lead generation for Lexington Law or

                        CreditRepair.com are reasonably available from the

                        Marketing Affiliate as described in the Marketing

                        Affiliate' s marketing; and

                     b. Defendants review the Marketing Affiliate's marketing

                        materials used in connection with advertising, marketing,

                        or generating leads for Lexington Law or

                        CreditRepair.com, including but not limited to online

                        advertisements, websites, landing pages, pop-ups, social

                        media content, and classified advertisements, and verify

                        to the fullest extent practicable that they do not contain

                        any material misrepresentations or otherwise materially

                        conflict with any of the provisions of this Order.




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                                          III

                             Affirmative Requirements

       IT IS ORDERED that:

 40.   Defendants must conduct regular compliance reviews of their top 25

 Marketing Affiliates (or if Defendants have fewer than 25 Marketing Affiliates, the

 top Marketing Affiliates accounting for no less than 75% of total leads), which

 reviews must include, at a minimum, repeating each of the requirements in

 Paragraph 39 at least two times per year.

 41.   Upon determining that any Marketing Affiliate has used material

 misrepresentations to induce a consumer to purchase or enroll in Defendants'

 products or services, Defendants must immediately: (i) halt the processing of any

 payments or charges generated by the Marketing Affiliate; (ii) refund or cause to

 be refunded within 45 days all monies paid by each consumer whose sale

 originated from the Marketing Affiliate on or after the date the Marketing Affiliate

 engaged in deceptive acts or practices or other acts or practices prohibited by this

 Order, except those who Defendants determine were not exposed to such deceptive

 or prohibited acts or practices; and (iii) immediately terminate the Marketing

 Affiliate unless (a) it is the first such misrepresentation by the Marketing Affiliate

 in an 18-month period and (b) the Marketing Affiliate cures the representation and


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refunds all affected customers within 7 days.

42.    For at least three years from the Effective Date, Defendants must retain

qualified, independent consultants or auditors with specialized experience in

advertising compliance, and acceptable to the Enforcement Director, to conduct an

 annual independent audit of:

                        a. Defendants' compliance with this Final Order; and

                        b. Defendants' use of Marketing Affiliates in connection

                           with advertising, marketing, or generating leads for

                           Credit Repair Services.

 43.   Defendants must promptly and completely investigate any complaints that

 they receive through any source to determine whether any Marketing Affiliate is

 engaging in deceptive acts or practices or other acts or practices prohibited by this

 Final Order.

 44.   Within 10 days of the Effective Date, Defendants must send a notice of this

 Final Order to all Enrolled Telemarketed Credit Repair Customers. The notice

 shall be substantially in the form attached as Appendix A, and in a clear and

 prominent manner, shall include the following:

                        a. A description of the Bureau's lawsuit against the

                           Defendants;


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                       b. A description of the March 10, 2023 Order and a

                          hyperlink to the text of the order;

                       c. A statement that the Parties have settled the lawsuit;

                       d. A statement that the consumer has the right to cancel

                          their credit repair services at any time and a hyperlink

                           directly to a webpage through the which the consumer

                           can immediately cancel their enrollment, as well as a

                           phone number that enables the consumer to immediately

                           cancel their enrollment, free from any retention effort or

                           other marketing of Defendants' services; and

                       e. A statement that if the consumer does nothing, their

                           services will continue and they will continue to be billed

                           according to their contract.

 Defendants may include in the Notice a statement that they disputed the ruling in

 the March 10, 2023 Order and informed the Court that they intended to file an

 appeal, before reaching an agreement to instead settle the case.




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                           MONETARY PROVISIONS

                                         IV

                               Order to Pay Redress

        IT IS FURTHER ORDERED that:

 45.    A judgment for monetary redress in compromise of the Bureau's claims

 under Count I of the Bureau's Amended Complaint is entered in favor of the

 Bureau and against the Defendants, jointly and severally, in the amount of

 $2,641,926,481. A judgment for monetary redress in compromise of Counts 11-V

 of the Amended Complaint is entered in favor of the Bureau and against the

 Progrexion Defendants in the amount of $19,000,000.

 46.    Any funds received by the Bureau in satisfaction of the monetary redress

 portion of this judgment will be deposited into a fund or funds administered by the

 Bureau or the Bureau's agent according to applicable statutes and regulations to be

 used for redress for Affected Consumers, including legal restitution or the refund

 of moneys, and for any attendant expenses for the administration of any such

 redress.

 4 7.   Defendants must cooperate fully to help the Bureau determine the identity

 and location of, and the amount of injury sustained by, each Affected Consumer.




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 Defendants must provide such information in their or their agents' possession or

 control within 14 days of receiving a written request from the Bureau.

 48.   If the Bureau determines, in its sole discretion, that providing redress to

 consumers is wholly or partially impracticable or if funds remain after the

 administration of redress is completed, the Bureau will deposit any remaining

 funds in the U.S. Treasury. Defendants will have no right to challenge the Bureau's

 choice of remedies under this Section and will have no right to contest the manner

 of distribution chosen by the Bureau.

 49.   Payment of redress to any Affected Consumer under this Order may not be

 conditioned on that consumer waiving any right.

                                           V

                         Order to Pay Civil Money Penalty

       IT IS FURTHER ORDERED that:

 50.   Under Section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), in consequence of

 the March 10, 2023 Order and the Parties' agreement to compromise and resolve

 the matters at issue in Counts 1-V of the Bureau's Amended Complaint, and taking

 into account the factors in 12 U.S.C. § 5565(c)(3), the Progrexion Defendants must

 pay a civil money penalty of $45,817,452 to the Bureau.




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51.    Under Section 1055(c) of the CFPA, 12 U.S.C. § 5565(c), in consequence of

the March 10, 2023 Order and the Parties' agreement to compromise and resolve

the matters at issue in Count I of the Bureau's Amended Complaint, and taking

 into account the factors in 12 U.S.C. § 5565(c)(3), Heath PC must pay a civil

money penalty of $18,408,726 to the Bureau.

 52.   The civil money penalties paid under this Final Order will be deposited in

 the Civil Penalty Fund of the Bureau as required by Section 101 7 (d) of the CFPA,

 12 U.S.C. § 5497(d).

 53.   Defendants must treat the civil money penalty paid under this Final Order as

 a penalty paid to the government. Regardless of how the Bureau ultimately uses

 those funds, Defendants may not:

                        a. Claim, assert, or apply for a tax deduction, tax credit, or

                           any other tax benefit for any civil money penalty paid

                           under this Order; or

                        b. Seek or accept, directly or indirectly, reimbursement or

                           indemnification from any source (other than any of PGX

                           Holdings, Inc.' s parent companies, shareholders, or

                           former shareholders), including but not limited to




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                           payment made under any insurance policy, with regard to

                           any civil money penalty paid under this Final Order.

                                          VI

                          Additional Monetary Provisions

        IT IS FURTHER ORDERED that:

 54.    In the event of default on any Defendant's obligations to make payment

 under this Final Order, interest, computed under 28 U.S.C. § 1961, as amended,

 will accrue on any outstanding amounts not paid from the date of default to the

 date of payment, and will immediately become due and payable.

 5 5.   Defendants relinquish all dominion, control, and title to any funds paid

 pursuant to this Final Order to the fullest extent permitted by law and no part of the

 funds may be returned to Defendants.

 56.    Under 31 U.S.C. § 7701, each Defendant, unless it already has done so, must

 furnish to the Bureau its taxpayer identification numbers, which may be used for

 purposes of collecting and reporting on any delinquent amount arising out of this

 Final Order.

 57.    Within 30 days of the entry of a final judgment, order, or settlement in a

 Related Consumer Action, Defendants must notify the Enforcement Director of the

 final judgment, order, or settlement in writing. That notification must indicate the



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 amount of redress, if any, that the Defendant paid or is required to pay to

 consumers and describe the consumers or classes of consumers to whom that

 redress has been or will be paid. To preserve the deterrent effect of the civil money

 penalties in any Related Consumer Action, Defendants may not argue that they are

 entitled to, nor may any Defendant benefit by, any offset or reduction of any

 compensatory monetary remedies imposed in the Related Consumer Action

 because of the civil money penalties paid in this action or because of any payment

 that the Bureau makes from the Civil Penalty Fund ("Penalty Offset"). If the court

 in any Related Consumer Action grants such a Penalty Offset to any Defendant,

 the Defendant must, within 30 days after entry of a final order granting the Penalty

 Offset, notify the Bureau, and pay the amount of the Penalty Offset to the U.S.

 Treasury. Such a payment will not be considered an additional civil money penalty

 and will not change the amount of the civil money penalties imposed in this action.




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                          COMPLIANCE PROVISIONS

                                         VII

                         Role of the Board and Executives

       IT IS FURTHER ORDERED that:

 58.    The Progrexion Defendants' Executives will, pursuant to Section IX, below,

 acknowledge in writing their receipt of this Final Order and responsibility for

 ensuring that the Progrexion Defendants comply with this Order.

 59.   Heath PC's Executives will, pursuant to Section IX, below, acknowledge in

 writing their receipt of this Final Order and responsibility for ensuring that Heath

 PC complies with this Order.

 60.   The Progrexion Defendants' Executives and Heath PC's Executives must

 review all reports required by this Final Order, and any submissions to the Bureau

 prior to such submission.

 61.   One year after the Effective Date, and on the same date each year thereafter

 for the next four years, the Progrexion Defendants must submit to the Enforcement

 Director an accurate written compliance progress report (Compliance Report), the

 accuracy of which is declared under penalty of perjury by the Progrexion

 Defendants' Executives and which, at a minimum:




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                     a. Describes the steps that the Progrexion Defendants'

                        Executives have taken to reasonably assess whether the

                        Progrexion Defendants are complying with each

                        applicable paragraph and subparagraph of the Final

                        Order;

                     b. Describes in detail whether and how each Progrexion

                        Defendant has complied with each applicable paragraph

                        and subparagraph of the Final Order, including the

                        manner of verification of such compliance and any

                        corrective actions taken to remedy potential non-

                        compliance with the applicable requirement, paragraph,

                        or subparagraph;

                     c. Identifies any Marketing Affiliate with whom any

                        Progrexion Defendant contracts to provide advertising,

                        marketing, or lead generation services; and

                     d. Attaches a copy of each Final Order Acknowledgment

                        obtained under Section IX, unless previously submitted

                        to the Bureau.




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 62.   One year after the Effective Date, and on the same date each year thereafter

 for the next four years, Heath PC must submit to the Enforcement Director an

 accurate written compliance progress report (Compliance Report), the accuracy of

 which is declared under penalty of perjury by Heath PC's Executives and which, at

 amm1mum:

                       a. Describes the steps that Heath PC's Executives have

                          taken to reasonably assess whether Heath PC is

                          complying with each applicable paragraph and

                          subparagraph of the Final Order;

                       b. Describes in detail whether and how Heath PC has

                          complied with each applicable paragraph and

                          subparagraph of the Final Order, including the manner of

                          verification of such compliance and any corrective

                          actions taken to remedy potential non-compliance with

                          the applicable requirement, paragraph, or subparagraph;

                       c. Identifies any Marketing Affiliate with whom Heath PC

                          contracts to provide advertising, marketing, or lead

                          generation services; and




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                     d. Attaches a copy of each Final Order Acknowledgment

                        obtained under Section IX, unless previously submitted

                        to the Bureau.

 63.   The Progrexion Defendants' Board must:

                     a. Authorize whatever actions are necessary for the

                        Progrexion Defendants to assess whether the Progrexion

                        Defendants are complying with each applicable

                        paragraph and subparagraph of the Final Order;

                     b. Authorize whatever actions, including corrective actions,

                        are necessary for the Progrexion Defendants to fully

                         comply with each applicable paragraph and subparagraph

                         of the Final Order; and

                      c. Require timely reporting by management to the

                         Progrexion Defendants' Executives on the status of

                         compliance obligations.

 64.   Heath PC's Board must:

                      a. Authorize whatever actions are necessary for Heath PC

                         to assess whether Heath PC is complying with each




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                           applicable paragraph and subparagraph of the Final

                           Order;

                        b. Authorize whatever actions, including corrective actions,

                            are necessary for Heath PC to fully comply with each

                            applicable paragraph and subparagraph of the Final

                            Order; and

                        c. Require timely reporting by management to Heath PC's

                            Executives on the status of compliance obligations.

                                          VIII

                               Reporting Requirements

       IT IS FURTHER ORDERED that:

 65.   Each Defendant must notify the Bureau of any development that may

 materially affect compliance obligations arising under this Final Order, including

 but not limited to, a dissolution, assignment, sale, merger, or other action that

 would result in the emergence of a successor company; the creation or dissolution

 of a subsidiary, parent, or affiliate that engages in any acts or practices subject to

 this Final Order; the filing of any successor bankruptcy or insolvency proceeding

 by or against any Defendant; or a change in a Defendant's name or address. The

 Defendant must provide this notice, if practicable, at least 30 days before the


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development, but in any case, no later than 14 days after the development.

66.   Within 30 days of the Effective Date, each Defendant must:

                      a. Designate at least one telephone number and email,

                         physical, and postal address as points of contact, which

                         the Bureau may use to communicate with that Defendant;

                      b. Designate at least one telephone number and email,

                         physical, and postal addresses as points of contact for

                         consumers with inquiries related to consumer relief under

                         this Final Order;

                      c. Identify all businesses for which a Defendant is the

                          majority owner, that the Defendant directly or indirectly

                          controls, by all of their names, telephone numbers, and

                          electronic, physical, and postal addresses; and

                      d. Describe the activities of each such business, including

                          the products and services offered, and the means of

                          advertising, marketing, and sales.




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 67.   Defendants must report any change in the information required to be

 submitted under Paragraph 66 at least 30 days before the change, or as soon as

practicable after learning about the change, whichever is sooner.

                                          IX

                    Order Distribution and Acknowledgment

       IT IS FURTHER ORDERED that:

 68.   Within 7 days of the Effective Date, each Defendant must submit to the

 Enforcement Director an acknowledgment of receipt of this Final Order, declared

 under penalty of perjury.

 69.   Within 30 days of the Effective Date, each Defendant must deliver a copy of

 this Final Order to each of its board members, executive officers, attorneys, and

 Marketing Affiliates, as well as to any managers, employees, service providers, or

 other agents and representatives who have responsibilities related to the subject

 matter of the Final Order.

 70.   For five years from the Effective Date, each Defendant must deliver a copy

 of this Final Order to any business entity resulting from any change in structure

 referred to in Section VIII, any future board members, executive officers,

 attorneys, and Marketing Affiliates, before they assume their responsibilities, as

 well as to any managers, employees, service providers, or other agents and


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representatives who will have responsibilities related to the subject matter of the

Final Order before they assume their responsibilities.

71.    Each Defendant must secure and retain for five years a signed and dated

statement acknowledging receipt of a copy of this Final Order, ensuring that any

electronic signatures comply with the requirements of the E-Sign Act, 15 U.S.C.

 §§ 7001-7006, within 30 days of delivery, from all Persons receiving a copy of this

 Final Order under this Section.

 72.   Ninety days after the Effective Date, each Defendant must submit to the

 Bureau a list of all Persons and their titles to whom this Final Order was delivered

 through that date under this Section and a copy of all signed and dated statements

 acknowledging receipt of this Final Order under Paragraph 71.

                                          X

                                   Record keeping

       IT IS FURTHER ORDERED that:

 73.   For at least five years from the Effective Date, Defendants must create, or if

 already created, must retain the following business records:

                        a. All documents and records necessary to demonstrate full

                           compliance with each provision of this Final Order,

                           including all submissions to the Bureau;


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                    b. All Marketing Affiliates' marketing materials obtained

                          and reviewed by Defendants;

                     c. All scripts used by Defendants with consumers

                          (including any scripts used for telephonic, chat,

                          SMS/text, and artificial intelligence communications);

                     d. Any telemarketing registrations and licenses and

                          applications for such registrations and licenses;

                     e. All contracts with Marketing Affiliates;

                     f. Audited financial statements for all Defendants;

                     g. All consumer complaints and refund requests (whether

                          received directly or indirectly, such as through a third

                          party), any documentation concerning any investigation

                          of those complaints or requests, and any responses to

                          those complaints or requests;

                     h. All written compliance materials, instructions, and

                          guidance supplied by Defendants to Marketing Affiliates;

                     1.   Defendants' policies, procedures, training, and written

                          guidance provided to Defendants' employees to monitor




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                       and ensure Marketing Affiliates' compliance with federal

                       consumer financial law; and

                    J. Documents sufficient to demonstrate that all statements

                       Defendants use in marketing Defendants' products and

                        services, or that Defendants authorize others to use, are

                        accurate and substantiated. Accurate statements must

                        have a truthful basis for their claims. Specific claims

                        must have an objective basis established prior to use.

                        General statements regarding products or services must

                        reflect the actual outcomes of prior consumers and must

                        be verified beyond mere possibility or anecdote. All

                        quantifiable claims, including, but not limited to, all

                        claims about prior consumers' performance, or the

                        likelihood that a consumer will receive a product or

                        service, must be substantiated with empirical data.

                        Defendants must make these materials available to the

                        Bureau within 30 days of the Bureau's request.




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                                         XI

                                      Notices

       IT IS FURTHER ORDERED that:

 74.   Unless otherwise directed in writing by the Bureau, Defendants must

 provide all submissions, requests, communications, or other documents relating to

 this Final Order in writing, with the subject line, "CFPB v. Progrexion Marketing,

 Inc., et al., Case No. 2:19-cv-00298-BSJ," and send them by email to

 CFPB _Enforcement_Compliance@cfpb.gov, addressed as follows:

       Assistant Director for Enforcement
       Consumer Financial Protection Bureau

                                         XII

                              Compliance Monitoring

       IT IS FURTHER ORDERED that:

 75.   Within 14 days ofreceipt of a written request from the Bureau, Defendants

 must submit additional compliance reports or other requested information, which

 must be declared under penalty of perjury; provide sworn testimony; or produce

 documents.

 76.   Defendants must permit Bureau representatives to interview any employee

 or other Person affiliated with Defendants who has agreed to such an interview




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regarding compliance with this Final Order. The Person interviewed may have

counsel present.

 77.   Nothing in this Final Order will limit the Bureau's lawful use of compulsory

process, under 12 C.F.R. § 1080.

                                           XIII

                       Transfer or Assignment of Operations

       IT IS FURTHER ORDERED that:

 78.   Should Defendants seek to transfer or assign all or part of their operations

 that are subject to this Final Order, Defendants must, as a condition of such a

 transfer or assignment, obtain the written agreement of the transferee or assignee to

 comply with all of the obligations of the transferor or assignor entity that are

 reflected in Sections I, II, III, VII, VIII, IX, X, XI, and XII, above, or if such

 transfer or assignment is subject to approval by a court of competent jurisdiction,

 any effectuating document submitted to such court for approval shall set forth or

 incorporate by reference all obligations of the transferor or assignor that are

 reflected in Sections I, II, III, VII, VIII, IX, X, XI, and XII of this Final Order,

 which shall be binding upon the transferee or assignee, as such obligations are

 applicable to any such transferee or assignee, provided, however, that, for the

 avoidance of doubt, (i) any such transferee or assignee shall not be liable, or


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otherwise responsible, for any judgment for monetary redress, civil penalty or any

other payment or monetary obligation of the Defendants pursuant to this Final

Order, including those obligations set forth in Sections IV, V, and VI of this Final

 Order, and (ii) no such transferee or assignee shall have any direct liability or

 obligations under this Final Order except as otherwise provided in this Paragraph.

                                          XIV


                                      Bankruptcy


       IT IS FURTHER ORDERED that:


 79.   Any monetary obligations under Sections IV, V, and VI of this Final Order

 shall be subject to Bankruptcy Court approval and be considered or entitled to

 treatment as an unsecured claim in accordance with the Bankruptcy Code and shall

 not be considered an administrative expense claim or other priority claim in the

 Chapter 11 Cases or any Successor Cases or be deemed to be assumed by, or be an

 obligation of, any purchaser, assignee or transferee of any of the Defendants'

 assets or operations in the Chapter 11 Cases or any Successor Cases.

 80.   The Bankruptcy Court shall have exclusive jurisdiction over any and all

 matters arising from or related to the implementation, interpretation, or

 enforcement of any orders approving a chapter 11 plan or sale in the Chapter 11



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Cases or any Successor Cases including, without limitation, with respect to the

allowance or treatment of such monetary obligations under Sections IV, V, and VI

of this Order.

                                        xv
                                  Closure of Case

       IT IS FURTHER ORDERED that:

 81.   In accordance with the Parties' agreement to resolve the matters at issue in

 the Bureau's Amended Complaint, this case shall be and hereby is closed and final

judgment is hereby entered.

                                        XVI

                               MISCELLANEOUS

       IT IS FURTHER ORDERED that:

 82.   Notwithstanding the provisions of Section XVII hereof, any time limit for

 performance fixed by this Final Order may be extended by mutual written

 agreement of the Parties. Any other modification of this Final Order may be made

 only by approval of the Court, upon motion by either of the Parties, pursuant to

 Fed. R. Civ. P. 60.




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                                            XVII

                                Retention of Jurisdiction

        IT IS FURTHER ORDERED that:

 83.    The Court will retain jurisdiction of this matter for the purpose of

 construction, modification, and. enfQrcement of this Final Order. P11~~t11-1rlr
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 IT IS SO ORDERED.

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               Appendix A
 Notice for Enrolled Telemarketed Credit
            Repair Customers




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The notice shall state as follows:

      On May 2, 2019, the Consumer Financial Protection Bureau ("Bureau")
      sued Lexington Law, CreditRepair.com, Progrexion Marketing, and
      several other companies, alleging that they violated various consumer
      financial protection laws and regulations. The case was filed in Federal
      District Court in Salt Lake City, Utah, and is captioned CFPB v.
      Progrexion Marketing, et al., 19-cv-00298-BSJ.
      On March 10, 2023, the Federal District Court issued a ruling finding
      that Lexington Law's and CreditRepair.com's billing practices for
      telemarketed credit repair services violated the advance fee provision
      of the Telemarketing Sales Rule. Specifically, the Court found that
      Lexington Law and CreditRepair.com charged customers without
      waiting six months after demonstrating, via a consumer report, that the
      promised results of the credit repair service had been achieved. The
      Court's decision and other information about the case is on the Bureau's
      website                                                            here:
      https://www.consumerfinance.gov/enforcement/actions/pgx-holdings-
      inc/
       Lexington Law, CreditRepair .com, and the other defendants dispute the
       Court's partial summary judgment ruling and informed the Court and
       the Bureau that they intended to appeal, before reaching an agreement
       to settle the case.
       The Bureau and the defendants have now agreed to settle the case. As
       part of that settlement, Lexington Law and CreditRepair.com are
       reaching out to you to remind you that-as stated in your attached
       engagement agreement-you have the right to terminate your credit
       repair services at any time and for any reason ( or no reason at all). If
       you wish to terminate your credit repair services, please click on the
       link below (or call XXX-XXX-XXXX between the hours of 1pm and
       4pm Mountain if you lack access to a computer or other electronic
       device). If you would like to continue to receive credit repair services,
       no action is necessary and you will continue to be billed according to
       your contract.

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